  Case 1:13-cr-00782-JHR Document 47 Filed 01/08/21 Page 1 of 8 PageID: 633




                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA,                       :      Hon. Joseph H. Rodriguez

             Plaintiff,                         :      CRIM NO. 1:13-cr-00782

      v.                                        :             OPINION

DERRICK WARNER,                                 :

             Defendant.                         :



      This matter comes before the Court on Defendant Derrick Warner’s Motion for

Companionate Release under the First Step Act 18 U.S.C. § 3582 (c)(1)(A)(i) [Dkt. No.

41.] The Court has considered the parties’ written submissions, and for the reasons

stated below, will deny Defendant’s Motion.

      Defendant Warner pled guilty to a two-count information—one count of

conspiracy to commit bank fraud and a second count of felon in possession of a

firearm—on December 11, 2013. On August 13, 2015, the Honorable Jerome B.

Simandle sentenced Defendant Warner to eighty-seven (87) months in prison and five

(5) years of Supervised Release. He is currently serving his sentence at FCI Elkton.

Defendant Warner is an African American 36 year old male, projected to be released on

March 18, 2021. Accordingly, he has approximately two months remaining on his

sentence. Prior to filing this motion, Defendant Warner, through counsel, applied to the

Bureau of Prisons (“BOP”) for compassionate release. [Dkt. No. 41-1, p. 27.] Defendant

filed this motion more than 30 days after counsel’s submission; Warden Williams has

not responded to Defendant’s request. [Id.]




                                            1
  Case 1:13-cr-00782-JHR Document 47 Filed 01/08/21 Page 2 of 8 PageID: 634




      Defendant Warner seeks to modify his sentence to time served in order to protect

himself from the Covid-19 pandemic. He argues that he is “medically vulnerable” at an

elevated risk of death or serious illness if he were to become infected with Covid-19 due

to his chronic kidney disease and nephrolithiasis, and overdue for a surgery to remove

kidney stones, which he frequently suffers from as a result of his kidney problems. The

Government opposes Defendant’s motion. It argues that Defendant Warner already

tested positive for Covid-19 in mid-July 2020, and recovered from the illness. In

addition, the Government contends that the § 3553(a) factors supporting Defendant’s

continued incarceration outweigh those supporting release.

                                  I.     Legal Framework

      Generally a district court may not modify a term of imprisonment once it has

been imposed, unless the case falls under one of the limited exceptions under the First

Step Act. Pursuant to the Act, a court may modify an imposed term of imprisonment—

      (1) in any case—

        (A) the court, upon motion of the Director of the Bureau of Prisons, or
            upon motion of the defendant after the defendant has fully exhausted
            all administrative rights to appeal a failure of the Bureau of Prisons to
            bring a motion on the defendant's behalf or the lapse of 30 days from
            the receipt of such a request by the warden of the defendant's facility,
            whichever is earlier, may reduce the term of imprisonment (and may
            impose a term of probation or supervised release with or without
            conditions that does not exceed the unserved portion of the original
            term of imprisonment), after considering the factors set forth in
            section 3553(a) to the extent that they are applicable, if it finds that—

             (i)    extraordinary and compelling reasons warrant such a
             reduction; or

             (ii)  the defendant is at least 70 years of age, has served at least 30
             years in prison, pursuant to a sentence imposed under section
             3559(c), for the offense or offenses for which the defendant is
             currently imprisoned, and a determination has been made by the

                                             2
  Case 1:13-cr-00782-JHR Document 47 Filed 01/08/21 Page 3 of 8 PageID: 635




                Director of the Bureau of Prisons that the defendant is not a danger
                to the safety of any other person or the community, as provided
                under section 3142(g); and that such a reduction is consistent with
                applicable policy statements issued by the Sentencing Commission;
                and

          (B) the court may modify an imposed term of imprisonment to the extent
              otherwise expressly permitted by statute or by Rule 35 of the Federal Rules
              of Criminal Procedure; and


   18 U.S.C. § 3582(c).

         The Sentencing commission issued a policy statement concerning reduction in

term of imprisonment under the Act, which provides in pertinent part, that after

considering applicable factors set forth in 18 U.S.C. § 3553(a), the “the court may

reduce a term of imprisonment if the court determines that—Extraordinary and

compelling reasons warrant the reduction . . . The defendant is not a danger to the safety

of any other person or to the community, as provided in 18 U.S.C. § 3142(g); and The

reduction is consistent with this policy statement.” U.S.S.G. 1B1.13. As set forth in the

policy statement, the medical condition of the defendant may qualify as an

extraordinary and compelling reason, if the defendant is suffering from a terminal

illness or

(ii) the defendant is,

   (I)       suffering from a serious physical or medical condition,

   (II)      suffering from a serious functional or cognitive impairment, or

   (III) experiencing deteriorating physical or mental health because of the aging
         process,


   that substantially diminishes the ability of the defendant to provide self-care within
   the environment of a correctional facility and from which he or she is not expected to
   recover.

                                              3
  Case 1:13-cr-00782-JHR Document 47 Filed 01/08/21 Page 4 of 8 PageID: 636




Additional circumstances that may qualify include, the age of the defendant, family

circumstances, and other reasons. Id.

                                        II.       Analysis

      There is no dispute that Defendant Warner is eligible for consideration of his

compassionate release motion by this Court. Thus, the question before the Court is

whether extraordinary and compelling reasons warrant his release. The Court finds that

Defendant Warner is ineligible for early release.

      Defendant’s motion requests “compassionate release so he avoids the rampant

Covid-19 rife within FCI Elkton, receives overdue treatment, practice social distancing

and achieve appropriate levels of hygiene to protect himself from an infection that

would prove catastrophic if contracted.” [Dkt. No. 41, p. 4.] Defendant Warner claims

that he is more vulnerable to Covid-19 because he suffers from chronic kidney disease.

While “the mere existence of COVID-19 in society and the possibility that it may spread

to a particular prison alone cannot independently justify compassionate release,” an

inmate with a medical condition that increases risk for severe illness from Covid-19,

may qualify as an extraordinary and compelling reason. United States v. Raia, 954 F.3d

594, 597 (3d Cir. 2020) (citing Federal Bureau of Prisons, COVID-19 Action Plan (Mar.

13, 2020, 3:09 PM), https://www.bop.gov/resources/news/20200313_covid19.jsp.);

see also United States v. Hynes, No. 3:18-CR-00222, 2020 WL 6060984, at *3 (D.N.J.

Oct. 14, 2020). According to the CDC, “[h]aving chronic kidney disease of any stage

increases your risk for severe illness from COVID-19.” People with Certain Medical

Conditions, CDC, https://www.cdc.gov/coronavirus/2019-ncov/need-extra-

precautions/people-with-medical-conditions.html (last visited January 4, 2021). Under



                                              4
  Case 1:13-cr-00782-JHR Document 47 Filed 01/08/21 Page 5 of 8 PageID: 637




these CDC guidelines, Defendant Warner’s BMI of 30 also presents a medical condition

putting him at increased risk. Id.

       Defendant further submits that “Elkton has suffered one of the largest outbreaks

of Covid-19 within its confines of any B.O.P. facility[;]” and this has caused necessary

surgery for Defendant’s condition to be postponed. [Dkt. No. 41, pp. 3, 7.] The Court

notes that a group of prisoners commenced a class action in the Northern District of

Ohio against FCI Elkton’s Warden, alleging “that their confinement in the midst of the

COVID-19 outbreak violates the Eighth Amendment.” Wilson v. Williams, 961 F.3d 829,

835 (6th Cir. 2020). Ultimately, the Sixth Circuit “conclude[d] that petitioners [did] not

provide[] sufficient evidence to show that the BOP was deliberately indifferent to the

serious risk of harm presented by COVID-19 at Elkton.” Id. at 844.

       Here, Defendant Warner, while vulnerable under CDC guidelines, has already

been infected by COVID-19, and recovered from the virus. Accordingly, the Government

concedes that Defendant’s medical conditions could present “extraordinary and

compelling” reason for a sentence reduction, but claims that “[b]ecause defendant has

tested positive for COVID-19, suffered no apparent ill effects, and is considered to have

recovered, the risks and dangers associated with COVID-19 are therefore not grounds

for the relief he seeks.” [Dkt. No. 44, p. 8.] Although this Court takes seriously

Defendant’s kidney malfunction, a number of courts have found that an inmate

recovering from the Covid-19 virus weigh against release based on the risk of

contracting that virus. United States v. Ramirez, No. CR 09-579, 2020 WL 6743327, at

*3 (D.N.J. Nov. 17, 2020) (“The fact that the Government introduced evidence that

Defendant does not appear to be suffering any known complications or experiencing any

significant symptoms of the virus counsels against a compassionate release.”); United

                                             5
  Case 1:13-cr-00782-JHR Document 47 Filed 01/08/21 Page 6 of 8 PageID: 638




States v. Mekaeil, No. 16-10016-02, 2020 WL 6318693, at *3 (D. Kan. Oct. 28, 2020)

(“[I]t does not appear that [defendant] had medical complications from already having

COVID-19, thus diminishing any concerns that she will or would develop severe

complications if she were to contract it again.”); United States v. Hartley, No.

513CR00046, 2020 WL 4926146, at *4 (W.D.N.C. Aug. 21, 2020), reconsideration

denied sub nom. USA v. Hartley, No. 513CR00046, 2020 WL 5550394 (W.D.N.C. Sept.

16, 2020) (“Other courts have held that the possibility of re -infection does not

constitute extraordinary and compelling circumstances.” (collecting cases)).

Importantly, in this case, the BOP’s records do not indicate the defendant suffered from

symptoms while infected with the virus. [See generally Id. (Defendant’s BOP medical

records for July 2020). Records indicate that following Defendant’s positive Covid-19

test, his temperature was monitored daily, from July 14, 2020 to July 26, 2020—it never

measured above 99 degrees. [Dkt. No. 46, p. 10.]

       Moreover, while this Court recognizes the conditions of incarceration may

generally “make prisons potential ‘hot spots’ for virus transmission,” FCI Elkton now

has relatively low infection rates. See COVID-19 Coronavirus, FEDERAL BUREAU OF

PRISONS, https://www.bop.gov/coronavirus/ (last visited January 4, 2021) (providing

COVID-19 data for each BOP facility, showing FCI Elkton has 3 positive inmates, 22

positive staff members, with over 800 staff and inmates recovered). Therefore, the

possibility of Defendant’s re-infection does not qualify as an extraordinary and

compelling circumstance. To be sure, even if this Court were to release Defendant

Warner to a relative’s home in Audubon, New Jersey, as he proposes, there is no




                                             6
    Case 1:13-cr-00782-JHR Document 47 Filed 01/08/21 Page 7 of 8 PageID: 639




evidence that Defendant Warner would be less likely of re-infection upon release rather

than at FCI Elkton. 1

       Finally, the Government argues that § 3553(a) factors and safety of the

community do not support Defendant’s sentence reduction. The Court Agrees.

Defendant was involved in a scheme, in which he and others stole checks from the

United States Mail and converted those checks for his own use. Defendant also

purchased and possessed a firearm although he had been convicted of a crime

punishable by imprisonment for more than one year. At sentencing, Defendant Warner

accrued two (2) criminal history points and was sentenced to 87 months—the bottom of

the advisory guidelines range of 87 to 108 months. While incarcerated, Defendant

Warner has acquired four (4) disciplinary infractions. [Dkt. No. 46, Ex. B.] Thus, the

need to promote respect for the law and the need for deterrence further weigh against

his release.




1New Jersey, and specifically Camden County, reports relatively high numbers of Covid-
19 cases. See Covid-19 Update: Cases, Trends; Hospital Census & Cases by County, SOUTH
JERSEY OBSERVER, https://www.southjerseyobserver.com/2021/01/06/covid-19-update-
cases-trends-hospital-census-cases-by-county/ (last visited January 7, 2021).

                                            7
  Case 1:13-cr-00782-JHR Document 47 Filed 01/08/21 Page 8 of 8 PageID: 640




                                      III.   Conclusion

       For the foregoing reasons, Defendant's Motion for Compassionate Release,

pursuant to the First Step Act, 18 U.S.C. § 3582(c)(1)(A), will be denied.

An accompanying order shall issue.



Dated: January 8, 2021

                                                        /s/ Joseph H. Rodriguez

                                                        JOSEPH H. RODRIGUEZ, USDJ




                                             8
